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UNITED STATES DISTRICT COURT                                        CIVIL CONFERENCE
EASTERN DISTRICT OF NEW YORK                                        MINUTE ENTRY

BEFORE: ANNE Y. SHIELDS                                             DATE: 2/23/2021
        U.S. MAGISTRATE JUDGE                                       TIME: 11:30 AM
                                                                    FTR: 11:34-11:39

CASE: CV 18-4796 (JS) (AYS) Cuthbert v. The Town of East Hampton New York, et al

TYPE OF CONFERENCE: MOTION

APPEARANCES:         Plaintiff       William Cuthbert
                                     Frederick Oberlander

                     Defendant

THE FOLLOWING RULINGS WERE MADE:
9     Scheduling Order entered.
9     Settlement conference scheduled for __ in courtroom 830 of the Long Island Courthouse.
      Counsel shall comply with the undersigned’s individual rules on settlement.
9     Proposed settlement pending: By __, each party shall notify the court by ex parte letter to
      chambers at (631) 712-5715 whether it accepts or rejects the proposed settlement. These
      letters will be kept confidential.
9     The Joint Pretrial Order is accepted for filing and the action is deemed ready for trial.
:     Other: Conference held.


                                                     SO ORDERED

                                                     /s/ Anne Y. Shields
                                                     ANNE Y. SHIELDS
                                                     United States Magistrate Judge
